      Case 2:18-cv-01919-RFB-BNW Document 210
                                          209 Filed 11/12/21
                                                    11/11/21 Page 1 of 3



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     Attorneys for Plaintiff
10                                 UNITED STATES DISTRICT COURT
                                        DISTRICT OF NEVADA
11
                                                   )
12   RICHARD ZEITLIN, ADVANCED                     )
     TELEPHONY CONSULTANTS, MRZ                    )
13   MANAGEMENT, LLC, DONOR                        )
     RELATIONS, LLC, TPFE, INC.,                   )
14   AMERICAN TECHNOLOGY SERVICES,                 )
     COMPLIANCE CONSULTANTS,                       )        Case No. 2:18-cv-01919-RFB-BNW
15   CHROME BUILDERS CONSTRUCTION,                 )
     INC., and UNIFIED DATA SERVICES,              )        JOINT STIPULATION TO STAY
16                                                 )        MAGISTRATE JUDGE’S ORDER [ECF
                    Plaintiffs,                    )        NO. 192]
17                                                 )
            v.                                     )
18                                                 )
     BANK OF AMERICA, N.A. and JOHN                )
19   and JANE DOES 1-100,                          )
                                                   )
20                  Defendants.                    )
                                                   )
21
            Pursuant to Local Rules IA 6-1, IA 6-2, and 7-1, Plaintiffs Richard Zeitlin, Advanced
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     Telephony Consultants, MRZ Management, LLC, Donor Relations, LLC, TPFE, Inc., American
23
     Technology Services, Compliance Consultants, Chrome Builders Construction, and Unified Data
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     Services, (hereinafter the “Plaintiffs”), and the Defendant Bank of America (hereinafter “BOFA”), by
25
     and through their respective attorneys of record, hereby jointly stipulate to stay the Magistrate Judge’s
26
     Order (hereinafter “Order”) regarding the Plaintiffs’ Motion for Sanctions pursuant to Fed. R. Civ. P.
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     30(b)(6). (Doc. 192.) On November 4, 2021, BOFA filed an Objection to the Order. (Doc. 200.)
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      Case 2:18-cv-01919-RFB-BNW Document 210
                                          209 Filed 11/12/21
                                                    11/11/21 Page 2 of 3



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              After conferring, the Parties stipulate to stay the Order until such time that the Hon. District
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     Court Judge Boulware resolves BOFA’s Objections to that Order. The Parties agree that the Objection
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     should be resolved before BOFA’s 30(b)(6) witness is re-deposed or the fee sanction resolved, in the
 4
     legitimate interest of potentially avoiding the unnecessary consumption of time and resources.
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              For the foregoing reasons, the Parties stipulate to stay the Magistrate Judge’s Order filed as
 6
     Doc. 192 until such time that Judge Boulware adjudicates BOFA’s Objection filed at Doc. 200.
 7
     IT IS SO STIPULATED.
 8
              Dated: November 11, 2021                       Dated: November 11, 2021
 9            THE BERNHOFT LAW FIRM, S.C.                    SNELL & WILMER, L.L.P.
10
               /s/ Robert G. Bernhoft                         /s/ Holly E. Cheong
11            Robert G. Bernhoft, Esq.                       Amy F. Sorenson (NV Bar 12495)
12            Wisconsin Bar No. 1032777                      Blakeley E. Griffith, Esq. (NV Bar 12386)
              1402 E. Cesar Chavez Street                    Holly E. Cheong (NV Bar 11936)
13            Austin, Texas 78702                            3883 Howard Hughes Pkwy., Ste. 1100
                                                             Las Vegas, Nevada 89169
14            Attorney for Plaintiffs
              Appearing pro hac vice                         Attorneys for Bank of America, N.A.
15
16
17   IT IS SO ORDERED:
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20
     UNITED STATES MAGISTRATE JUDGE
21
                  11/12/2021
     Dated:
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      Case 2:18-cv-01919-RFB-BNW Document 210
                                          209 Filed 11/12/21
                                                    11/11/21 Page 3 of 3



 1                                             Certificate of Service
 2
            I hereby certify that on November 11, 2021, I electronically filed and served the foregoing
 3
     second JOINT STIPULATION TO STAY MAGISTRATE JUDGE’S ORDER [ECF NO. 192]
 4
     with the Clerk of the Court for the United States District Court for the District of Nevada using
 5
     the CM/ECF system.
 6
 7                                                         /s/ Robert G. Bernhoft
                                                           Robert G. Bernhoft
 8                                                         Attorney for Plaintiffs
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